                Case 17-06040-JJG-13                         Doc          Filed 07/04/20           EOD 07/04/20 15:33:24                    Pg 1 of 7
   Fill in this information to identify the case:

Debtor 1                 Paul Thomas Hamlin, Sally Ann Hamlin
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Southern District of Indiana
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             1706040
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                       12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             5
                                                                                                   Court claim no. (if known): _______________________
 Wells Fargo Bank N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           08/01/2020
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             1520.33
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      0 ____
                                                                    ____ 9 ____
                                                                            5 ____
                                                                                4

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

               No
            
            ✔   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                                           602.88
                Current escrow payment: $ _________________                                                                       608.54
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

                Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             ✔
                 No
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                               page 1
             Paul Thomas Hamlin, Sally Ann Hamlin                                                              1706040
        Case 17-06040-JJG-13                  Doc Last Name
                                                       Filed 07/04/20
             ________________________________________________________
      Debtor 1
             First Name       Middle Name
                                                                                   EOD Case
                                                                                       07/04/20         15:33:24
                                                                                            number (if known)            Pg 2 of 7
                                                                                                              ______________________



 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Yadira P Delgado
      ______________________________________________________________
      Signature
                                                                                      07/04/2020
                                                                                Date _______________




 Print:______________________________________________________________
        DELGADO,YADIRA P                                                         VP Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            1000 Blue Gentian Road
            _____________________________________________________________
            Address 2

             Eagan                                   MN      55121-7700
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
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                      UNITED STATES BANKRUPTCY COURT
                                                          Southern District of Indiana


                                                      Chapter 13 No. 1706040
                                                      Judge: Jeffrey J. Graham

In re:
Paul Thomas Hamlin, Sally Ann Hamlin
                                             Debtor(s).

                                             CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before July 06, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                                By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                       Paul Thomas Hamlin, Sally Ann Hamlin
                                       7774 Santolina Drive

                                       Indianapolis IN 46237



                                       By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                       N/A




Debtor’s Attorney:                     By Court's CM/ECF system registered email address
                                       Michelle Rene Wethington
                                       Wethington Law Office
                                       6905 S. Emerson Ave., Suite C

                                       Indianapolis IN 46237


                                       By Court's CM/ECF system registered email address
                                       N/A




Trustee:                               By Court's CM/ECF system registered email address
                                       Ann M. DeLaney
                                       Office of Ann M. Delaney
                                       PO Box 441285

                                       Indianapolis IN 46244

                                                             _______________________________________________
                                                             /s/Yadira P Delgado
                                                               VP Loan Documentation
                                                               Wells Fargo Bank, N.A.
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                                 Return Mail Operations                                   Escrow Review Statement
                                 PO Box 14547
                                                                                          For informational purposes only
                                 Des Moines, IA 50306-4547
                                                                                          Statement Date:                                    June 10, 2020
                                                                                          Loan number:
                                                                                          Property address:
                                                                                                7774 SANTOLINA DRIVE
                                                                                                INDIANAPOLIS IN 46237-3719


                                                                                          Customer Service
                                                                                                 Online                          Telephone
                                                                                                 wellsfargo.com                  1-800-340-0473
          PAUL T HAMLIN
                                                                                                 Correspondence                  Hours of operation
          SALLY ANN HAMLIN                                                                       PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
          7774 SANTOLINA DRIVE                                                                   Des Moines, IA 50306
          INDIANAPOLIS IN 46237                                                                  To learn more, go to:
                                                                                                 wellsfargo.com/escrow


                                                                                                   We accept telecommunications relay service calls



PLEASE NOTE: If you are presently seeking relief (or have previously been granted
relief) under the United States Bankruptcy Code, this statement is being sent to you
for informational purposes only. The summaries below are based on the terms of the
loan and are provided for informational purposes only.
These amounts are governed by the terms of the loan unless otherwise reduced by an
order of the bankruptcy court. Because the amounts billed for the escrow items can
change over time, we review the escrow account at least once per year to ensure there
will be enough money to make these payments. Once the review is complete, we send
the escrow review statement, also known as the escrow account disclosure statement.
                                                                                             The escrow account has a shortage of
Here's what we found:
     • Required Minimum Balance: The escrow account balance is projected to                               $303.37
        fall below the required minimum balance. This means there is a shortage.

     • Payments: As of the August 1, 2020 payment, the contractual portion of the
        escrow payment increases.



  Part 1 - Mortgage payment

       Option 1                  Pay the shortage amount over 12 months
                                  Previous payment through New payment beginning with
                                  07/01/2020 payment date   the 08/01/2020 payment
                                                                                                Option 1: No action required
 Principal and/or interest                   $911.79                  $911.79

 Escrow payment                             $602.88                  $608.54                Starting August 1, 2020 the new contractual
 Total payment amount
                                                                                            payment amount will be $1,520.33
                                          $1,514.67               $1,520.33

       Option 2                  Pay the shortage amount of $303.37
                                  Previous payment through New payment beginning with
                                  07/01/2020 payment date   the 08/01/2020 payment
                                                                                                Option 2: Pay shortage in full
 Principal and/or interest                   $911.79                  $911.79

 Escrow payment                             $602.88                   $583.26               Starting August 1, 2020 the new contractual
 Total payment amount                                                                       payment amount will be $1,495.05
                                          $1,514.67               $1,495.05




                                                       See Page 2 for additional details.


                                        Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                        States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                        Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                        payments, please contact your attorney or the Trustee’s office before directly sending any
                                        amounts relating to this escrow shortage

                                                                  If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                  and mail it along with a check for $303.37 to the address that appears on this coupon.
  PAUL T HAMLIN
  SALLY ANN HAMLIN                                                This payment must be received no later than August 1, 2020.


              Wells Fargo Home Mortgage
              PO Box 10394
              Des Moines, IA 50306-0394




        708                            5 10 02 00151467 00149505 00181804 00030337 3
                                                                                                                                              Page 2 of 3
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                                                                                                           Loan Number:


     Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $6,999.15. For the coming year, we expect the amount paid from escrow to be
$6,999.15.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                       New monthly
                                     09/17 - 08/18      08/18 - 07/19       08/19 - 06/20   08/20 - 07/21
                                                                                                                      # of               escrow
                                       (Actual)           (Actual)            (Actual)       (Projected)
                                                                                                                     months              amount

Property taxes                             $2,522.99         $2,597.47          $2,658.15     $2,658.15       ÷         12        =          $221.51
Property insurance                         $3,851.00         $4,159.00          $4,341.00      $4,341.00      ÷         12        =          $361.75
Total taxes and insurance                  $6,373.99         $6,756.47          $6,999.15     $6,999.15       ÷         12        =         $583.26
Escrow shortage                                $0.00           $498.96           $478.08       $303.37        ÷         12        =           $25.28**

Total escrow                               $6,373.99         $7,255.43          $7,477.23     $7,302.52       ÷         12        =         $608.54


**
    This amount is added to the payment if Option 1 on page 1 is selected.


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                   (Calculated in Part 3 - Escrow account projections
Lowest projected escrow balance June, 2021                                         $237.61         table)

Bankruptcy adjustment‡                                                 +          $625.54

Minimum balance for the escrow account†                                 -        $1,166.52         (Calculated as: $583.26 X 2 months)


Escrow shortage                                                        =         -$303.37


‡
 This adjustment of $625.54, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
confirmed bankruptcy plan.
†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
contract to determine the cash reserve.
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                                                                                                                                   Loan Number:



  Part 3 - Escrow account projections
Escrow account projections from August, 2020 to July, 2021
                                          What we
                Payments to               expect to                                                                      Projected escrow        Balance required
Date              escrow                   pay out          Description                                                      balance              in the account
Jul 2020                                                    Starting balance                                                    $820.90                    $1,749.81
Aug 2020              $583.26                   $0.00                                                                          $1,404.16                   $2,333.07
Sep 2020              $583.26                   $0.00                                                                          $1,987.42                   $2,916.33
Oct 2020              $583.26                $1,336.30      MARION COUNTY (W)                                                  $1,234.38                   $2,163.29
Nov 2020              $583.26                   $0.00                                                                          $1,817.64                   $2,746.55
Dec 2020              $583.26                   $0.00                                                                          $2,400.90                   $3,329.81
Jan 2021              $583.26                   $0.00                                                                          $2,984.16                   $3,913.07
Feb 2021              $583.26                   $0.00                                                                          $3,567.42                   $4,496.33
Mar 2021              $583.26                   $0.00                                                                          $4,150.68                   $5,079.59
Apr 2021              $583.26                $1,321.85      MARION COUNTY (W)                                                  $3,412.09                   $4,341.00
May 2021              $583.26                   $0.00                                                                          $3,995.35                   $4,924.26
Jun 2021              $583.26                $4,341.00      SAFECO INSURANCE COMPANY                                            $237.61                $1,166.52
Jul 2021              $583.26                   $0.00                                                                           $820.87                    $1,749.78

Totals              $6,999.12                $6,999.15



  Part 4 - Escrow account history
Escrow account activity from August, 2019 to July, 2020
                        Deposits to escrow                   Payments from escrow                                                          Escrow balance
   Date        Actual      Projected Difference          Actual   Projected Difference                  Description            Actual         Projected Difference
Aug 2019                                                                                            Starting Balance           -$2,851.01      $1,689.11      -$4,540.12
Aug 2019        $1,718.25       $563.04     $1,155.21        $0.00             $0.00       $0.00                               -$1,132.76      $2,252.15      -$3,384.91

Sep 2019         $572.75        $563.04         $9.71        $0.00             $0.00       $0.00                                -$560.01       $2,815.19      -$3,375.20

Oct 2019           $0.00        $563.04     -$563.04     $1,336.30        $1,261.17        $75.13   MARION COUNTY (W)          -$1,896.31      $2,117.06      -$4,013.37

Nov 2019        $1,145.50       $563.04      $582.46         $0.00             $0.00       $0.00                                 -$750.81     $2,680.10       -$3,430.91

Dec 2019         $602.88        $563.04       $39.84         $0.00             $0.00       $0.00                                 -$147.93      $3,243.14      -$3,391.07

Jan 2020           $0.00        $563.04     -$563.04         $0.00             $0.00       $0.00                                 -$147.93     $3,806.18       -$3,954.11

Feb 2020       $1,808.64        $563.04     $1,245.60        $0.00             $0.00       $0.00                                $1,660.71     $4,369.22       -$2,708.51

Mar 2020         $602.88        $563.04       $39.84         $0.00             $0.00       $0.00                               $2,263.59      $4,932.26       -$2,668.67

Apr 2020           $0.00        $563.04     -$563.04     $1,321.85      $1,336.30         -$14.45   MARION COUNTY (W)            $941.74      $4,159.00       -$3,217.26
                                                                                                    SAFECO INSURANCE COMPANY
May 2020        $1,205.76       $563.04      $642.72     $4,341.00             $0.00   $4,341.00                               -$2,193.50     $4,722.04       -$6,915.54

Jun 2020        $2,411.52       $563.04    $1,848.48         $0.00      $4,159.00      -$4,159.00   SAFECO                       $218.02       $1,126.08       -$908.06
(estimate)                                                                                          INSURANCE
                                                                                                    COMPANY

Jul 2020         $602.88        $563.04       $39.84         $0.00             $0.00       $0.00                                 $820.90       $1,689.12       -$868.22
(estimate)

Totals         $10,671.06    $6,756.48      $3,914.58    $6,999.15      $6,756.47        $242.68




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